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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 MICHAEL P. DONOVAN, as he is                   *
 Administrator, LOCAL 103, I.B.E.W.             *
 HEALTH BENEFIT PLAN, et al.,                   *
                                                *
        Plaintiffs,                             *
                                                *
                v.                              *      Civil Action No. 1:24-cv-12232-IT
                                                *
 SMART GREEN SOLAR LLC f/k/a/                   *
 ALLIANCE HOLDINGS GFD INC.,                    *
                                                *
        Defendant.                              *
                                                *

                 ORDER ADOPTING REPORT AND RECOMMENDATION

                                         March 4, 2025


TALWANI, D.J.

       After considering the Magistrate Judge’s January 20, 2025, Report and

Recommendation [Doc. No. 15], and noting that no objections have been filed, the court hereby

ACCEPTS and ADOPTS the Report and Recommendation [Doc. No. 15] for the reasons set

forth therein. Plaintiffs’ Motion for a Default Judgment [Doc. No. 11] is GRANTED, and

Plaintiffs are awarded damages in an amount totaling $44,857.85, plus interest as provided by

law.

       IT IS SO ORDERED

                                                            /s/ Indira Talwani
                                                            United States District Judge
